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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THREE AMIGOS HOLDINGS, INC.
Plaintiff,
VS. Case No. 1:23-CV-08798-DLC

MAXBEN HOLDINGS, LLC

Defendant.

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-{PROPOSED} ORDER AND JUDGMENT

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

The Court, pursuant to Rule 56 of the Federal Rules of Civil Procedure, and upon reading
the parties’ respective briefs and all other matters presented to the Court, and hearing argument,
HEREBY

GRANTS Plaintiff’s Motion for Summary Judgment (ECF No. | at Exhibit 1); and

ORDERS that judgment is entered against Defendant MAXBEN HOLDINGS, LLC, in
the amount of $511,787.50, and as to liability only for Plaintiffs attorneys’ fees incurred in this
action, in an amount to be determined by this Court.

IT IS SO ORDERED

Dated: (ite be, If 2023. heck. Ke
Denis? L. Cote

United States District Judge
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